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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION

JOHN A. ORTLAND PLAINTIFF

V. CIVIL ACTION NO.1:07-CV-1075 LG RHW

HARRISON COUNTY MISSISSIPPI, ET AL. DEFENDANTS
AFFIDAVIT OF PAT OLSEN

STATE OF MISSISSIPPI

COUNTY OF HARRISON
PERSONALLY APPEARED BEFORE ME, the undersigned authority in and.

for the County and State aforesaid, PAT OLSEN, who having been duly sworn stated on

her oath as follows:

1. My name is Pat Olsen and I am employed by Health Assurance LLC as the Health
Services Administrator at the Harrison County Adult Detention Center (HCADC)
at 10451 Larkin Smith Drive, Gulfport, Mississippi.

2, I am over the age of twenty-one (21) years of age and competent to testify with
regard to the matters stated herein. I make this affidavit from my own personal
knowledge.

3, Mr. Ortland alleges in paragraphs 2 and 19 of his Second Amended Complaint

that on or about September 8, 2004, he was arrested and delivered to the custody of

the HCADC.

EXHIBIT “I”

10.

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The booking record shows Mr. Ortland was delivered to the custody of HCADC at
approximately on September 8, 2004, at approximately 4:49 a.m. and released on
September 8, 2004, at approximately 10:26 a.m. See attached Exhibit “A”

I was not employed at HCDAC on September 8, 2004.

In June, 2005, I was initially hired as a part-time employee by Health Assurance,
LLC to work as a unit clerk in the medical department at HCDAC.

On January, 16, 2006, I was hired as a full-time employee by Health Assurance,
LLC to work as the Health Services Administrator in the medical department at
HCDAC.

Since I was not employed at HCDAC in 2004, I was not present when Mr. Ortland
was incarcerated at HCDAC or about September 8, 2004.

I have searched the medical records for 2004, 2005, 2006, 2007 and 2008, and
have found no medical records for Mr. Ortland. I have found no record of Mr.
Ortland requesting medical care and I have found no record that medical care was
provided to Mr. Ortland while he was incarcerated at the HCADC.

I have never worked as a medical provider at HCDAC. AIl of my work has been
related to the administration of the medical department. I have never treated

inmates and have never decided what treatment should be provided.

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11. Inever denied Mr, Ortland medical care, never ignored his request for medical

care, never delayed medical care and never interfered with anyone who wes

providing medical care to Mr, Ortland.
And further affiant sayeth not.
THIS the 5 day of March, 2009.

Slt. Mla

PAT OLSEN

. SWORN TO AND SUBSCRIBED BEFORE ME, this the a _day of Marck,

2009,

My Commission Expires:

1-46-14

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RMR LE100810 Sheriff Custody - Personal 12/20/2007
@PADEVO00 11:01:12
(1) Page 2 (13) Charges (14) History (15} Property (16) Medical

(17) Scheduling (18) Accounting (19) View Photo (20) Line-up (24) Exit

Docket: CJ 263129 Arrest Date 9 - 8 - 2004 Time 4: 49 Ofcr 221
Release Date 9 - 8 - 2004 Time 10 : 26 Ofcr 261

Rel Code OA OTHER AGENCY Bond Co

Bond Amt 949.00 Receipt Number Name COURT PROGRAM

Name ORTLAND, JOHN ALBERT Alias

Address 1835 EB PASS RD LOT # 60 Occ: UNEMPLOYED

City GULFPORT ST MS “ZIP 39501 Phone ( ) -
Race: W Sex: M Height 5 8 Weight 185 Hair BRO Eyes BRO

SSN: 567561436 Driver License Num: _ DL State: __
DOB: 7 - 29 - 1940 Age 64 Birth City: OKLAND Birth State: CA
File Number 88438 FBI Number DOC Number ~~
SMT:

SMT:

Ceil CJ HC4 HOLDING CELL 4 BSC Code G GULFPORT

Photograph ¥ (Y/N) Fingerprints N (Y/N) Phone Cail ¥ (Y/N)

EXHIBIT A

